Filed 07/28/16                                                             Case 16-24932                                                                   Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (fknown)                                                           Chapter you are filing under:
                                                                                 E   Chapter 7
                                                                                 E   Chapter   11

                                                                                 !   Chapter 12

                                                                                 I   chapter 13                                  E    Check if this an
                                                                                                                                      amended filing




  Official Form 101
  Voluntary Petition for lndividuals Filing for Bankruptcy                                                                                                12t15
  The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a ioint
  case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
  would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debfor 1 and Debtor 2 to distinguish
  between them. ln jo¡nt cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The same person must be Debtor 1 in
  all of the forms.

  Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information. lf
  more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
  every question.



  l@         laelutv Jgurserr


  '1.   Your full name

        Write the name that is on     Marlene
        your government-¡ssued        First name                                                       First name
        picture identification (for
        example, your driver's        Marie
        license or passport)                                                                           Middle name
                                      Middle name
        Bring your picture
        identification to your
                                      Cotrone
                                      Last name and Suffix (Sr , Jr , ll, lll)                         Last name and Suffix (Sr , Jr , ll, lll)
        meeting with the trustee




        All other names you have
        used in the last B years
        lnclude your married or
        maiden names



        Only the last 4 digits of
        your Social Security
        number or federal             xxx-xx-5068
        lndividual Taxpayer
        ldentification number
        (rrN)




  Official Form   10'1                             Voluntary Petition for lndividuals Filing for Bankruptcy                                              page   1
Filed 07/28/16                                                           Case 16-24932                                                                              Doc 1
  Debtor   1   Marlene Marie Cotrone                                                                      Case number    Uknown)




  4.   Any business names and
       Employer ldentifícation
       Numbers (ElN) you have        I    I have not used any business name or ElNs.                E    I have not used any business name or ElNs.
       used in the last 8 years

       lnclude trade names     and   Business name(s)                                               Business name(s)
       doing business as names

                                     ElNs




  5.   Where you live                                                                               lf Debtor 2 lives at a different address:

                                     8017 Hwy.162
                                     Glenn, CA 95943
                                     Number, Street, City, State & ZIP Code                                                            P Code

                                     Glenn
                                     County

                                     lf your mailing address is different from the one              lf Debtor 2's mailing address is different from yours, fill it
                                     above, fill it in here. Note that the court will send any      in here. Note that the court will send any notices to this
                                     notrces lo you at tnrs marlrng aoqress.

                                     P.O. Box 65
                                     Glenn, CA 95943
                                     Number, P.O. Box, Street, City, State & ZIP Code                                              City, State & ZIP Code




  6.   Why you are choosing          Check one:                                                     Check one:
       fl¡is drsfricf to file for
       bankruptcy                    T       Over the last 180 days before filing this petition,    tr      Over the last 180 days before filing this petition, I
                                             I have lived in this district longer than in any               have lived in this district longer than in any other
                                             other district.                                                district.


                                     tr      I have another reason.                                 tr      I have another reason.
                                             Explain. (See 28 U.S.C. S 1408.)                               Explain. (See 28 U.S.C. S 1408.)




   Official Form 101                               Voluntary Petition for lndividuals Filing for Bankruptcy                                                   page 2
Filed 07/28/16                                                               Case 16-24932                                                                            Doc 1
  Debtor   1    Marlene Marie Cotrone                                                                             Case number Uknown)



  @
  7
               Tell the Cou¡t About Your Bankruptcy Case

         The chapter of the      Check one. (For a brief descr¡ption of each, see /Volice Required by 11 U.S.C. S 342(b) for lndividuals Filing for Bankruptcy
         Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
         choosing to file under
                                      E    Chapter 7
                                      E    Chapter     11

                                      E    Chapter 12

                                      I    Chapter 13



  8.     How you will pay the fee     T          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                                 about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                                 order. lf your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                                 a pre-printed address.
                                      tr         I need to pay the fee in installments. lf you choose this opt¡on, sign and attach the Application for lndividuals to Pay
                                                 The FÌling Fee in lnstallments (Official Form l03A).
                                      tr         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                                 but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                                 applies to your family size and you are unable to pay the fee in installments). lf you choose this option, you must fill out
                                                 lhe Application to Have the Chapter 7 Filing Fee Waived (Offìcial Form '1038) and file it with your petition.



  9.     Have you filed   for         lNo
         bankruptcy within the
         last I years?                E    Yes.
                                                      District                                  When                             Case number
                                                      District                                  When                             Case number
                                                      District                                  When                             Case number



  10. Are any bankruptcy              I    t¡o
         cases pending or being
         filed by a spouse who is     E    Yes.
         not filing this case with
         you, or by a business
         partner, or by an
         affiliate?
                                                      Debtor                                                                    Relationship to you
                                                      District                                  When                            Case number, if known
                                                      Debtor                                                                    Relationship to you
                                                      District                                  When                            Case number, if known



   11.   Do you rent   your           INo              Go to line   '12.

         residence?
                                      E    Yes.        Has your landlord obtained an eviction judgment against you and do you want to stay ¡n your residence?

                                                       tr        No. Go to line 12.

                                                       tr        Yes. Fill oul lnitial Statement About an Eviction Judgment Against You (Form '101A) and file it with this
                                                                 bankruptcy petition.




   Official Form 101                                  Voluntary Petition for lndividuals Filing for Bankruptcy                                                     page 3
Filed 07/28/16                                                               Case 16-24932                                                                        Doc 1
  Debtor     1   Marlene Marie Cotrone                                                                                 Case number ffknown)



                   port About Any Businesses You Own as a Sole Proprietor

  '12.    Are you a sole proprietor
          of any full- or part-time     I   r.¡o.     Go to Part 4
          business?
                                        E   Yes.      Name and location of business

          A sole proprietorship is a
          business you operate as                     Name of business, if any
          an individual, and is not a
          separate legal entity such
          as a corporation,
          partnership, or LLC.
                                                      Number, Street, City, State & ZIP Code
          lf you have more than one
          sole proprietorship, use a
          separate sheet and attach
          it to this petition.                        Check the appropriate box to describe your business:
                                                      tl        Health Care Business (as defined in     '1'1   U.S.C. S 101(274))

                                                      tr        SingleAsset Real Estate (as defined in 11 U.S.C S 101(518))
                                                      tr        Stockbroker (as defined in 11 U.S   C   S 101(534))

                                                      tr        Commodity Broker (as defined in 11 U S.C. S 101(6))
                                                      tr        None ofthe above

  13.     Are you filing under    lf you are filing under Chapter 11, the couti must know whether you are a small busrness debtor so that it can set appropriate
          Chapterll ofthe         deadlines. lf you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
          Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
          you a small business    in 11 U S c.1116(1)(B).
          debtor?
                                        I No.         I   am not filing under ChaPter   11
          For a definition of small
          buslness deölor, see 11
          u.s.c. s r01(51D).            E l¡o.        I am fìling under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                      Code.

                                        E yes.        I am fìling under   Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


   Pa¡t 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention
   't4.   Do you own or have any        I   ¡lo
          property that poses or is
          alleged to pose a threat      El Yes
          of imminent and                           What is the hazard?
          identifiable hazard to
          public health or safety?
          Or do you own any
          property that needs                       lf immediate attention is
          immediate attention?                      needed, why is it needed?

          For example, do you own
          perishable goods, or
          livestock that must be fed,               Where is the property?
          or a buílding that needs
          urgent repairs?
                                                                                    Number, Street, City, State & Z¡p Code




   Official Form'101                                 Voluntary Petition for lndividuals Filing for Bankruptcy                                                  page 4
Filed 07/28/16                                                               Case 16-24932                                                                                        Doc 1
  Debtor   1    Marlene Marie Cotrone                                                                                     Case number     Uknown)


               Explain Your Efforts to Receive a Briefing About credit counseling
 þ[|
                                         About Debtor   l:                                                           About Debtor 2 (Spouse Only in a Joint Case):
  15.   Tell the court whether           You must check one:                                                         You must check one:
        you have received a              t   I received a briefing from an approved credit                           tr  I received a briefingfrom an approved credit
        briefing about credit                counseling agency within the 180 days before                I                counseling agency within the 180 days before I filed
        counseling.                           filed this bankruptcy petition, and I received         a                    this bankruptcy petition, and I received a certificate of
                                              certificate of completion.                                                  completion.
        The law requires that you
        receive a briefing about              Attach a copy of the certificate and the payment                            Attach a copy of the certificate and the payment plan, if
        credit counseling before              plan, if any, that you developed with the agency.                  '        any, that you developed with the agency.
        you file for bankruptcy.
        You must truthfully check        tr   I received a briefing from an approved credit                               I received a briefing from an approved credit
        one of the following                  counseling agency within the 180 days before I                              counseling agency within the 180 days before lfiled
        cho¡ces. lf you cannot do             filed this bankruptcy petition, but I do not have                           this bankruptcy petition, but I do not have a certificate
        so, you are not eligible to           a ceñificate of completion.                                                 of completion.
        file.
                                              Within 14 days after you file this bankruptcy                               Within 14 days after you fìle this bankruptcy petition, you
                                              petition, you MUST fìle a copy of the certificate and                       MUST file a copy of the certificate and payment plan, if
        lf you file anyvvay, the court
                                              payment plan, if any.                                                       any.
        can dismiss your case, you
        will lose whatever filing fee
        you paid, and your               tr   I certify that I asked for credit counseling                           tr   I cert¡fy that I asked for credit counseling services
        creditors can begin                   services from an approved agency, but was                                   from an approved agency, but was unable to obtain
        collection activities again           unable to obtain those services during the 7                                those services during the 7 days after I made my
                                              days after I made my request, and exigent                                   request, and exigent c¡rcumstances merit a 30-day
                                              circumstances merit a 30-day temporary waiver                               temporary waiver of the requirement.
                                              of the requirement.
                                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                              To ask for a 30-day temporary waiver of the                                 attach a separate sheet explaining what efforts you made
                                              requirement, attach a separate sheet explaining                             to obtain the briefing, why you were unable to obtain it
                                              what efforts you made to obtain the briefing, why                           before you filed for bankruptcy, and what exigent
                                              you were unable to obtain it before you filed for                           circumstances required you to file this case.
                                              bankruptcy, and what exigent circumstances
                                              required you to file this case                                              Your case may be dismissed if the court ¡s dissatisf¡ed
                                                                                                                          with your reasons for not receiving a briefing before you
                                              Your case may be dismissed if the court is                                  filed for bankruptcy.
                                              dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                                   lf the court is satisfied with your reasons, you must still
                                              lf the court is satisfied with your reasons, you must                       receive a br¡efing within 30 days after you file. You musi
                                              still receive a briefing within 30 days after you file.                     file a certificate from the approved agency, along with a
                                              You must file a certificate from the approved                               copy of the payment plan you developed, if any lf you do
                                              agency, along with a copy of the payment plan you                           not do so, your case may be dismissed.
                                              developed, if any lf you do notdo so, yourcase                              Any extension of the 30-day deadline is granted only for
                                              may be dismissed
                                                                                                                          cause and is limited to a maximum of 15 days.
                                              Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15
                                              days
                                         tr   I am not required to rece¡ve a briefing about                          tr   I am not required to receive a briefing about credit
                                              credit counseling because of:                                               counseling because of:

                                              tr     lncapacity.                                                          tr     lncapacity.
                                                     I have a mental illness or a mental deficiency                              I have a mental illness or a mental deficiency ihat
                                                     that makes me incapable of realizing or                                     makes me incapable of realizing or making rational
                                                     making rational decisions about finances.                                   decisions about finances

                                              !      Disability                                                           tr     Disability.
                                                     My physical disability causes me to be                                      My physical disability causes me to be unable to
                                                     unable to participate in a briefing in person,                              participate in a briefing in person, by phone, or
                                                     by phone, or through the internet, even after           I                   through the internet, even after I reasonably tried to
                                                     reasonably tried to do so                                                   do so.

                                              ¡      Active duty.                                                         !      Active duty.
                                                     I am currently   on active military duty in a                               I am currently on active military duty in a military
                                                     military combat zone                                                        combat zone
                                              lf you believe you are not required to receive a                            lf you believe you are not requ¡red to receive a briefing
                                              briefing about credit counseling, you must file a                           about credit counseling, you must file a motion for waiver
                                              motion for waiver credit counseling with the court.                         of credit counseling with the court




   Official Form 101                                 Voluntary Petition for lndividuals Filing for Bankruptcy                                                                 page 5
Filed 07/28/16                                                                Case 16-24932                                                                                 Doc 1
  Debtor   1    Marlene Marie Cotrone                                                                                Case number (fknown)


  @
  16.
               Answer These Questions for Reporting Purposes
        What kind of debts do       '16a.         Are your debts primarily consumer debts? Consumer debfs are defined in 11 U.S C S 101(8) as "incurred by an
        you have?                                 individual primarily for a personal, family, or household purpose."
                                                  El No. co to line 16b.
                                                  I    Yes. Go to line 17.
                                    16b           Are your debts primarily business debts? Busrness debts are debts that you incurred to obtain
                                                  money for a business or investment or through the operation of the business or investment.
                                                  fl    t¡o. Go to line 16c
                                                  E    Yes. Go to line 17.
                                    1   6c.       State the type of debts you owe that are not consumer debts or business debts



  17.   Are you filing under        I ruo.        I   am not filing under Chapter 7. Go to line 18.
        Chapter 7?

        Do you estimate that        E yes.        I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
        after any exempt                          are paid that funds will be available to distribute to unsecured creditors?
        property is excluded and
        administrative expenses                   E     t,¡o
        are paid that funds will
        be available for                          E     Yes
        distribution to unsecured
        creditors?

  18.   How many Creditors do
        you estimate that you
                                    I     t-qg                                             E    r,ooo-s,ooo                             !   zs,oor-so,ooo
                                    E     so-sg                                            E    soot-ro,ooo                             E so,ool-too,ooo
        owe?
                                    tr    roo-rss                                          E    to,oor-zs,ooo                           !   More than100,000
                                    E     zoo-ggg

  19.   How much do you             tr    $o - $so,ooo                                     E $t,ooo,ool - $10 milion                    E $soo,ooo,oot - $1 bilion
        estimate your assets to     tr                                                                                                  tr $t ooo,ooo,ool - g1o bilion
                                          $so,oor - gloo,ooo                               E $ro,ooo,oor - $50 mi[ion
        be worth?
                                    r     $roo,oor - $soo,ooo                              tr   $so,ooo,oot - gloo miilion              !   $r o,ooo,ooo,oo1 - $50 biilion
                                    tr    $soo,oot - 91 mirion                             tr   $too,ooo,oo1 - $soo miilion             E   More than $50 billion


  20.   How much do you             tr    $o - $so,ooo                                     E $r,ooo,oor       - $10 mirion              E   $soo,ooo,oo'1 - 91 biilion
        estimate your liabilities
        to be?
                                    r     $so,oor - $roo,ooo                               tr   $to ooo,oot - $50 miilion               !    $r,ooo,ooo,oo1 - $10 biilion
                                    tr    $roo,oor - $soo,ooo                              E $so,ooo,ool - $1oo       miilion           E   $r o,ooo,ooo,oo1 - $50 biilion
                                    tr    $soo,ool - $1 milion                             !    $loo,ooo,oo1 - $5oo milion              !   More than $50 billion



  l!@          sisn Betow
  For you                           I have examined this petition, and I declare under penalty of perjury that the information provided ¡s true and correct

                                    lf I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7 , 11 ,12, or 13 of title          11   ,

                                    United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                    lf no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                    document, I have obtained and read the notice required by 11 U S C S 342(b)

                                    I request relief in accordance        with the chapter of title 1 1, United States Code, specified in this petition

                                    I understand making a           false statement, concealing property, or obtaining money or property by fraud in connection with         a
                                    bankruptcycasecanresultinfinesupto$250,000,orimprisonmentforupto20years,orboth 18US.C.SS152,                                    1341     ,1519,
                                    and 3571
                                    tr'/ .-).^        qA-
                                     Màrfene Marie Cotrone                                                     Signature of Debtor 2
                                    Signature of Debtor        '1




                                    Executed      on      July 27,2016                                         Executed on
                                                           MM/DD/YYYY                                                           MM/DD/YYYY




   Official Form 101                                  Voluntary Petition for lndividuals Filing for Bankruptcy                                                        page 6
Filed 07/28/16                                                                Case 16-24932                                                                       Doc 1
  Debtor   1   Marlene Marie Cotrone                                                                          Case number øknown)




   For your attorney, if you are    l, the attorney for thedebto(s) named in this petition, declare that I have informed the debto(s) about eligibility to proceed
   represented by one               under Chapter 7 , 11 , 12, or I 3 of title 11 , United States Code, and have explained the relief available under each chapter
                                    forwhich the person is eligible- I also certify that I have delivered to the debto(s) the notice required by 11 U.S.C. S 342(b)
  lf you are not represented by     and, in a case in which $ 707(              applies, certify that I have no knowledge afrer an inquiry that the information in the
  an attorney, you do not need                 filed with     petition
  to file this page.
                                      /                                                                 Date       July 27,2016
                                    Sionature                                                                       MM/DD/YYYY
                                   ¿¿-
                                    Douglas B.
                                    Pr¡nted name

                                     Jacobs,rf¡T!_e¡s94,tott91\C_\gptjøtLp
                                    Firm name

                                     20 lndependence Circle
                                     Chico, CA 95973
                                     Number, Street, C¡ty, Stato & zlP Code


                                     Conlact phone     530-342-6144                               Email address       djacobs@japc-law.com
                                     084153
                                     Bar number & State




   Offìcial Form 101                                 Voluntary Petition for lndividuals Filing for Bankruptcy                                                  page 7
Filed 07/28/16                                                                       Case 16-24932                                                                       Doc 1
      Fill in this information to identify your case

      Debtor       1             Marlene Marie Cotrone
                                 First Name            Middle Name                          Last Name

      Debtor 2
      (Spouse il,   fil¡ng)      First   Name                      l\4iddle   Name          Last Name


      United States Bankruptcy Court for          the:      EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)
                                                                                                                                        !   Check if this is an
                                                                                                                                            amended fìling



     Official Form 106Sum
     Summary of Your Assets and Liabilities and Gertain Statistical lnformation                                                                   121'15
     Be as complete and accurate as possible. lf two married people are      filing together, both are equally responsible for supplying correct
     information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
     your original forms, you must fill out a new Summary and check the box at the top of this page.

                                         our Assets




             Schedule A/B: Property (Official Form '1064/8)
             1a. Copy line 55, Total real estate, from Schedule A/8............                                                             $              200,000.00

             1b. Copy line 62, Total personal property, from Schedule A,/8..                                                                $                4,300.00

             1c. Copy line 63, Total of all property on Schedule A,/8..                                                                     $              204,300.00

      Paû2:            Summarize Your Liabilities




      2      Schedule D: Creditors Who Have Claims Secured by Propefty (Official Form 106D)
             2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...          ü               52,931.00

      3      Schedule E/F: Creditors Who Have Unsecured C/atms (Official Form 106E/F)
             3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F
                                                                                                                                                                    0.00

             3b Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............                   $                     359.00


                                                                                                               Your total liabilities   $                53,290.00


     fifiÐ             Sg4lm qzqlgur lncome and Expenses

      4.     Schedule l: Your lncome (Offìcial Form '1061)
                                                                                                                                            a                 1,645.00
             Copy your combined monthly income from line 12 of Schedule I

      5.     Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                  990.00
             Copy your monthly expenses from line 22c of Schedule J.                                                                        $


     [l!Ð     Answer These Questions for Administrative and Statistical Records

      6. Are you filing for bankruptcy under Chapte¡s 7,11, o¡ 13?
          tr No You have nothing to report on this part of the form Check this box and submit this form to the court with your other schedules
             I         Yes
      7      What kind of debt do you have?

             t         Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
                       householdpurpose."11U.SC S101(B) Fill outlinesS-9gforstatistical purposes.28U.S,C S159.

             tr        Your debts are not primarily consumer debts You have nothing to report on this part of the form. Check this box and submit this form to
                       the court with your other schedules
      Official     Form'l06Sum               Summary of YourAssets and Liabilities and Certain Statistical   lnformation                          page 1 of 2
     Soflware Copyright (c) 1996-2016 Best Case, LLC   -M   bestcase   com                                                                        Best Case Bankruptcy
Filed 07/28/16                                                                Case 16-24932                                                               Doc 1
      Debtor    1    Marlene Marie Cotrone                                                            Case number (if known)

      8.     From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Official Form
                                                                                                                                              1,645.00
             122A-1 Line 1 1; OR, Form 1228 Line 11; OR, Form 122Q-1 Line 14.


      9.    Copy the following special categories of claims from Part 4, line 6             ol   Schedule E/F:




            9a. Domestic support obligations (Copy line 6a.)                                                          $            0.00

            9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                 $            0.00

            9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                       $            0.00

            9d. Student loans. (Copy line 6f.)                                                                        $            0.00

            9e. Obligations arising out of a separation agreement or divorce that you did not report as
                priority claims. (Copy line 69.)                                                                      $            0.00

            9f. Debts to pension or profilsharing plans, and other similar debts. (Copy line 6h.)                    +$            0.00


            99. Total. Add lines 9a through 9f                                                                   $              0.00




     Official Form    106Sum                              Summary of Your Assets and Liabilities and Certain Statist¡cal lnformation            page 2 ol 2
     Software Copyright (c) 1 996-2016 Best Câse, LLC -   w   bestæse com                                                                 Best Case Bankruptcy
Filed 07/28/16                                                                                      Case 16-24932                                                                                        Doc 1
      Fill ín this information to identifo your case and this filing:
      Debtor      1                     Marlene Marie Cotrone
                                        First Name            Middle Name                                              Last Name

      Debtor 2
      (Spouse, ¡f f¡l¡ng)               First Name                               Middle Name                           Last Name


      United States Bankruptcy Court for                       the:       EASTERN DISTRICT OF CALIFORNIA

      Case number                                                                                                                                                               E     Check if this is an
                                                                                                                                                                                      amended frling



     Official Form 1064/8
     Schedule A/B: Property                                                                                                                                                                      12t1s
     lneachcategory,separatelylistanddescribeitems.Listanassetonlyonce. lfanassetf¡tsinmorethanonecategory, l¡sttheasset¡nthecategorywhereyou
     thinkitfitsbest. Beascompleteandaccurateaspossible. lftwomarriedpeoplearefilingtogether,bothareequallyresponsibleforsupplyingcorrect
     information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
     Answer every question.


     @                D":gib:Fl_".1 Res¡dence, Building, Land, or Other Real Estate You Own or Have an lnterest ln

     1    Do you own or have any legal or equitable interest in any residence, bu¡lding, land, or s¡milar property?

         E     ruo.   co to Part   2.

          I   Yes      Where ¡s the property?




      1.1                                                                                what is the property?         check alt rhar apply

               8017 Hwy.162                                                                          Single{amily home
                                               or other description
                                                                                                     Duplex or mult¡-unit bu¡lding
                                                                                                     Condominium or cooperative


                                                                                               I     Manufactured or mobile home
                                                                                                                                                       Current value of the      Current value of the
               Glenn                                 CA          95943-0000                    E     Land                                              entire property?           portion you own?
               C¡ty                                  Stale            ZIP Code                 E     lnvestment property                                     $200,000.00                 $200,000.00
                                                                                               E     Timeshare
                                                                                                                                                       Describe the nature of your ownersh¡p ¡nterest
                                                                                               D     otr'er                                            (such as fee simple, tenancy by the entireties, or
                                                                                         Who has an interest          ¡n   the property?   Check one   a life estate), ¡f known.

                                                                                               I     Debtor 1 only
               Glenn                                                                           E     Debtor z only
               County                                                                          E     o"btol.   1 and Debtor 2 only
                                                                                                                                                           Check if this ¡s commun¡ty property
                                                                                               E     At least one oflhe deblors and another                (see instructions)

                                                                                         Other information you wish to add about this item, such as local
                                                                                         property ident¡fication number:




      2       Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
              pages you have attached for Part l. Write that number here................                          ...........=>                                                       $200,000.00

                      Descr¡be Your Vehicles
     !!@|
     Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? lnclude any vehicles you own that
     someoneelsedrives lfyouleaseavehicle,alsoreportitonSchedu/eG: ExecutoryContractsandUnexpiredLeases.




     Official Form 106A/8                                                                          Schedule A,/8. Property                                                                           page   1


     Software Copyright (c) 1 996-2016 Besl Case             LLC -   ww   bestcase com                                                                                                   Best Case Bankruptcy
Filed 07/28/16                                                                          Case 16-24932                                                                               Doc 1
      Debtor             1     Marlene Marie Cotrone                                                                        Case number    (if known)


     3    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

         E        t,lo

          I       Yes


                                 Chevrolet                                                                                        Do nol deduct secured clalms or exemptions Put
         3    1     Make:                                           Who has an interest in the property? check       one
                                                                                                                                  the amount of any secured claims on Schedule D:
                    Modeli       Monte Carlo                        I Debtor 1 only                                               Cred¡tors Who Have Claims Secured by Propeñy
                    Year:         1995                              E Debtor 2 only                                               Current value ofthe       Current value of the
                    Approximate m¡leage:                            E Debtor 1 and Debtor 2 only                                  ent¡re   property?        portion you own?
                    Other information:                              E At least one of the debtors and another
                    Poor condition
                                                                    E     Check if this is community property                                $1,500.00                 $1,500.00
                                                                          (see ¡nslructions)




                                 Pontiac                                                                                          Dó nol deduct secured claims or exempt¡ons. Put
         32         Make:                                           Who has an interest in the property?        Check one
                                                                                                                                  the amount óf any secured claims on Schedule D:
                    Model        Grand Prix                          I    Debtor 1 only                                           Cred¡tors Who Have Claims Secured by Propedy.
                    Year.                                            E    Debtor z only                                           Current value of the      Current value of the
                    Approximate mileage                              !    Debtor 1 and Debtor 2 only                              entire property?          portion you own?
                    Other ¡nformation:                               !    At least one of the debtors and another
                    Very     poor coniditon
                                                                     E    cnecx    ¡f   this is community property                           $1,500.00                 91,500.00
                                                                          (see ¡nstruct¡ons)




     4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
         Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          lNo
         E        Yes



      5       Add the dollar value of the portion you own for all of your entr¡es from Part 2, including any entries for
              pages you have attached for Part 2. Write that number here................                          .............=>                                   $3,000.00


     @_o""
     Do you
            cribe Your Personal and Household ltems
              or have any legal or equitable interest in any of the                                                                                      Current value of the
                         own
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions
     6. Household goods                  and furnishings
              Examples: Major appliances, furniture, linens, china, kitchenware
             ENo
             I Yes           Describe

                                               Houshold goods and furniture                                                                                             $1,200.00


     7. Electronics
              Examples:Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                        including cell phones, cameras, media players, games
             Iruo
             D Yes. Describe
     8. Collectibles of value
              Examples:Antiques and figurines, paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                        other collect¡ons, memorabilia, collectibles
             lNo
             El Yes. Describe




     Official Form 1064/8                                                        Schedule A/B: Property                                                                        page 2
     Soflware Copyright (c) 1996-2016 Best Case LLC - M    bestcase com                                                                                            Best Case Bankruplcy
Filed 07/28/16                                                                     Case 16-24932                                                                    Doc 1
      Debtor      1     Marlene Marie Cotrone                                                                Case number   (¡f known)


     9    Equipment for sports and hobbies
          Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                          musical instruments
           INo
           E Yes. Describe.....
     10    Firearms
               Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           Ino
           fl Yes Describe.       ...

     11. Clothes
               Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           Eruo
           I    Yes. Describe.....

                                                                                                                                                            8100.00


     12. Jewelry
               Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
           I    r.¡o
           E Yes. Describe.....
     13. Non-farm animals
               Examples: Dogs, cats, birds, horses
           lruo
           E Yes. Describe.....
     14. Any other personal and household items you did not already list, including any health aids you did not list
           INo
           E Yes       Give specific information....


      1   5.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
               for Part 3. Write that number here                                                                                                    $1,300.00


      Paft4i Describe Your Financial Assets
                                                                             any




     '16 Cash
               Examples: Money you have in yourwallet, in your home, in a safe deposit box, and on hand when you file your petition
           Iruo
           El yes

     '17 Deposits of money
               Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                         institutions. lf you have multiple accounts with the same institut¡on, list each
           Eruo
           I Yes                                                                   lnstitution name:


                                             17't.        Checking                 Tri Counties Bank                                                           $0.00


     18 Bonds, mutual funds, or publicly traded stocks
               Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           Iruo
           fl yes                                    Institution or rssuer name:




     Official Form 1064/8                                                     Schedule A/B: Property                                                             page 3
     Software Copyright (c) 1 996-201 6 Best Case LLC -   M   bestcase com                                                                          Best Case Bankruptcy
Filed 07/28/16                                                                 Case 16-24932                                                                               Doc 1
          Debtor      1    Marlene Marie Cotrone                                                                   Case number         (if known)

     '1
          9    Non-publicly traded stock and ¡nterests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
                   joint venture
               lNo
               E Yes.     Give specific information about them
                                                 Name of    entity'.                                                o/o
                                                                                                                          of ownershiP:

     20. Government and corporate bonds and other negotiable and non-negotiable instruments
                   Negotiable ¡nstruments include personal checks, cashiers' checks, promissory notes, and money orders
                   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
               INo
               E    Yes. Give specific information about them
                                                lssuer name:

     2'1   .   Retirement or pension accounts
               Examples: lnterests in lRA, ERISA, Keogh, 401(k), a03(b), thrift savings accounts, or other pension or profit-sharing plans
               lNo
               E    Yes. List each account separately.
                                            Type of account:                    lnstitution name:

     22. Security deposits and prepayments
                   Your share of all unused deposits you have made so that you may continue service or use from a company
                   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
               I    t¡o
               E yes.                                                           lnstitution name or individual:

     23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
               lNo
               E yes.............        lssuer name and description.

     24. lnterests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program
         26 U.S.c. SS 530(bX1), 52eA(b), and 529(bX1).
               INo
               E yes.............        lnstitution name and description. Separately file the records of any interests.l   l U.S.C.    $ 521(c):

     25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
               I    l¡o
               E Yes.     Give specific information about them

     26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
                   Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements
               INo
               E    Yes. Give specific information about them...

     27. Licenses, franchises, and other general intangibles
                   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
               INo
               D Yes      Give specific information about them...

                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.

     28. Tax refunds owed to you
               lNo
               E    Yes. Give specific information about them, including whether you already filed the returns and the tax      years      ..




     29. Family support
                   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
               INo
               E Yes      Give specific information




     Official Form 1064/8                                                   Schedule A/B: Property                                                                      page 4
     Software Copyright (c) 1996-2016 Best Case LLC -   w   beslcase com                                                                                    Best Case Bankruptcy
Filed 07/28/16                                                                            Case 16-24932                                                                         Doc 1
      Debtor         1      Marlene Marie Cotrone                                                                              Case number   (¡f known)


     30        Other amounts someone owes you
               Examples: Unpaid wages, disability insurance payments, disability benefits, s¡ck pay, vacation pay, workers' compensation, Social Security
                         benefits; unpaid loans you made to someone else
               INo
               E Yes.     Give specific information..

     3'1   .   lnterests in insurance policies
                Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
               lNo
               E    Yes. Name the insurance company of each policy and list its value.
                                                        Company   name:                                               Beneficiary:                        Surrender or refund
                                                                                                                                                          value:

     32. Any interest in property that is due you from someone who has died
                lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
                someone has died.
               Iruo
               E Yes.     Give specific information..


     33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
                Examples: Accidents, employment disputes, insurance claims, or rights to sue
               lNo
               E Yes. Describe           each claim......

     34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
               INo
               E Yes. Describe           each claim..

     35. Any financial assets you did not already list
               INo
               E Yes.     Give specific information


      36.          Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                   for Part 4. Write that number here................                                                                                                   $0.00


      Part 5:         Describe Any Business-Related Property You Own or Have an lnterest ln. List any real estate in Part            I

     37 Doyouownorhaveanylegal orequitable¡nterestinanybusiness-relatedproperty?
           I       ¡lo co to   Part 6

           E Yes         Go to line 38




     E
     46
                      Describe Any Farm- and Commercial F¡shing-Related Property You Own or Have an lnterest ln.
                      lf you own or have an ¡nterest in farmland, list it in Part 1


               Do you own or have any legal or equitable ¡nterest in any farm- or commercial fishing-related property?
                I    No co to Part      7

                E Yes Go to line 47

                            Describe All Property You own or Have an                          ThalYou Did Not List Above
     !!fl                                                                       ln!9rest in

     53. Do you have other property of any kind you did not already list?
                Examples: Season tickets, country club membership
               INo
               E    Yes. Give specifìc information


      54. Add the dollar value of all                   of your entries from Part 7. Write that number here                                                             $0.00




     Official Form 106tu8                                                             Schedule A/B: Property                                                                 page 5
     Software Copyr¡ght (c) 1996-2016 Best Case         LLC   M   bestæse com                                                                                    Besl Case Bankruptcy
Filed 07/28/16                                                                   Case 16-24932                                                                  Doc 1
      Debtor'1 Marlene Marie Cotrone                                                                              Case number (if known)

      Part 8:       Llst the Totals of Each Part of this Form


      55    Part 1: Total real estate, line 2                                                                                                     $200,000.00
      56    Part 2: Total vehícles, line        5                                                  93,000.00
      57    Part 3: Total personal and household items, line 15                                    91,300.00
      58    Part 4: Total financial assets, line 36                                                      $0.00
      59    Part 5: Total business-related property, line 45                                             $o.oo
      60    Part 6: Total farm- and fishing-related property, l¡ne 52                                    80.00
      61    Part 7: Total other property not listed, line 54                            +                $0.00

      62. Total personal property. Add lines 56 through                61...                       $4,300.00     Copy personal property total


      63. Total of all property on Schedule A/8. Add line 55 + line 62                                                                          $2o4,3oo.oo




     Official Form 1064/8                                                      Schedule A,/B: Property                                                       page 6
     Software Copyright (c) 1996-20'16 Best Case, LLC -   M   bestæse æm                                                                         Besl Case Benkruplcy
Filed 07/28/16                                                                         Case 16-24932                                                                           Doc 1
     Fill in this information to identífy your case:
      Debtor      1                  Marlene Marie Cotrone
                                     F¡rst Name                     Middle Name                      Last Name

      Debtor 2
     (Spouse if, f¡lin9)             First Name                     Middle Nâme                      Last Name


      United States Bankruptcy Court for the                   EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                  !   Check if this is an
                                                                                                                                                     amended filing


     Official Form 106C
     Schedule G: The                                  Property You Glaim as Exempt                                                                                         4t16

     Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information Using
     the property you listed on Schedule NB: Property (Official Form '1064/8) as your source, list the property that you claim as exempt. lf more space is
     needed, fill out and attach to this page as many copies of Paft 2: Additional Page as necessary. On the top of any additional pages, write your name and
     case number (if known).

     For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
     specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
     any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
     funds-may be unlimited in dollar amount. However, if you claim an exemption o1 100'/" of fair market value under a law that limits the
     exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
     to the applicable statutory amount.

     f,lflI|          ldentify lhe Property You Claim as Exempt
      1.   Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           I      You are claiming state and federal nonbankruptcy exemptions. 11 U S                  C   S 522(bX3)

           E      You are claiming federal exemptìons. 11 U.S                C   S 522(b)(2)

      2    For any propeÉy you list on Schedu/e NB that you claim as exempt, fill in the information below
           Brief descrlptlon of the property and llne         on       Current value of the     Amount of the exempt¡on
           Schedule NB lhat lists th¡s property                        portion you own
                                                                       Copy the value    from   Check only one box for each


                                                                                                                                            C.C.P. S 704.730
           8017 Hwy.162 Glenn, CA 95943
           Glenn County
                                                                                 $200,000.00    I                        $147,069.00
           Line from Schedute            NB: 1.1                                                ¡       100% of fair market value, up to
                                                                                                        any applicable statutory limit


           1995 Chevrolet Monte Carlo                                              $1,500.00 I                                91,so1.00     C.C.P. S 704.010
           Poor condition
           Line from Schedule            NB: 3.1                                             tr         100% of fair market value, up to
                                                                                                        any applicable statutory limit


           Pontiac Grand Prix                                                      $1,s00.00    I                             91,1OO.SO C.C.P. S 704.010
           Very poor coniditon
           Line from Schedule            NB:3.2                                                 !       100% of fai¡ market value, up to
                                                                                                        any applicable statutory limit


           Houshold goods and furniture                                            $1,200.00    t                             g1,2OO.OO c'c'P' s 704'o2o
           Line from Schedule            NB. 6.1
                                                                                                fl      l oo% of fair market value, up to
                                                                                                        any applicable statutory limit


           Clothing                                                                                                                         C.C.P. S 704.020
                                                                                     $100.00 I                                 $100.00
           Line from Schedule            NB. 11.1
                                                                                             ¡          ßO% of fair market value, up to
                                                                                                        any applicable statutory limit




     Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                        page 1 of    2

     Soltware Copyrrght (c)   1   996-2016 Besl Case LLC - ww besLcase com                                                                                     Besl Case Bankruptcy
Filed 07/28/16                                                                  Case 16-24932                                                        Doc 1
      Debtor   1   Marlene Marie Cotrone                                                                     Case number (¡f known)

     3.   Are you claiming a homestead exemption of more than $160'375?
          (Subject to adjustment on 4lO1l19 and every 3 years after that for cases filed on or after the date of adjustment.)
          tNo
          tr Yes. Did you acquire the property               covered by the exemption within 1,215 days before you filed this case?
                   trNo
                   tr Yes




     Offìcial Form    106C                                     Schedule C: The Property You Claim as Exempt                                 page 2 of 2
     Software Copyr¡ght (c) 1996-2016 Best Case, LLC -   M   beslæse æm                                                               B€st Case Bankruptcy
Filed 07/28/16                                                                          Case 16-24932                                                                               Doc 1
      Fill in this information to identify your case:
      Debtor       1                 Marlene Marie Cotrone
                                     First Name                       ¡/iddle    Name                   Last Name

      Debtor 2
      (Spouse   if     filing)       First Name                       l\4iddle   Name                   Last Name


      United States Bankruptcy Court for the:                   EASTERN DISTRICT OF CALIFORNIA

      Case number
      (il known)                                                                                                                                   I   Check if this is an
                                                                                                                                                       amended fìling


     Official Form 106D
     Schedule D: Greditors Who Have Glaims Secured by Property                                                                                                          12t15

     Be as complete and accurate as poss¡ble. lf two married people are filing together, both are equally respons¡ble for supplying correct information. lf more space
     is needed, copy the Addit¡onal Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
     number (if known).
     1. Do any creditors have claims secured by your property?

           E No Check this box and submit this form to the court with                     your other schedules You have nothing else to report on this form.

           I Yes. Fill in all of the information below.
     f,lfin                List Att Secured- cl-a rms
      2. List all secured claims, lf a creditor has more than one secured claìm, list the creditor separately
      for each claim lf more than one creditor has a particular claim, llst the other cred¡lors in Part 2 As
      much as possible, list the claims in alphabetical order according to the cred¡tor's name.

      2.1     HFC                                           Describe the property that secures the claim:                                                                    80.00
              Creditoas Name                                8017 Hwy.162 Glenn, CA 95943
                                                            Glenn County
                                                            As ofthe date you file, the claim is: check     att that
              P.O. Box 5233                                 apply
                Carol Stream, lL 60197                      E    Contingent
              Number, Street, City, State & Z¡p Code        ¡    Unliquidated
                                                            E    oisputed
      Who owes the debt? Check one                          Nature of lien. Check all that apply
      I Debtor 1 only                                       I    An rgr""."nt you made (such as mortgage or secured
      E Debtor z only                                             car loan)

      E Debtor 1 and Debtor 2 only                          E    Statutory lien (such as tax lien, mechanic's lien)
      E At least one of the debtors and another             E    Judgment lien from a lawsuit
      ! Cnecx ¡f this claim relates to a                    E    otner (includ¡ng a right to offset)
           community debt

      Date debt was incurred                                         Last 4 digits of account    number 6792


        Add the dollar value of your entríes in Column A on this page, Write that number here:                                  $52,931.00
        lf this is the last page of your form, add the dollar value totals from all pages.
        Wr¡te that number here:                                                                                                 $52,931.00

     Eãliil              List others to Be Notified for a Debt That You Alrea                 Listed
      Use this page only if you have others to be notif¡ed about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
      try¡ng to collectfrom you fora debtyou owe to someone else, l¡stthe creditor in Part'1, and then listthe collect¡on agency here. S¡milarly, ¡f you have more
      than one creditor for any of the debts that you l¡sted ¡n Part 1, l¡st the additional creditors here. lf you do not have add¡tional persons to be notified for any
      debts ¡n Part 1, do not fill out or submit th¡s page.




     Official Form               106D                   Schedule D: Creditors Who Have Claims Secured by Property                                                      page    '1   of   1


     Software Copyíght (c) 1996-2016 Besl Case LLC -    M       bestcase com                                                                                     Best Case Bankruptcy
Filed 07/28/16                                                                          Case 16-24932                                                                                         Doc 1
      Fill in this info¡mation to identify your case:
      Debtor'1                          Marlene Marie Cotrone
                                        Firsl Name                    Middle   Name                      Last Name

      Debtor 2
      (Spouse if, f¡l¡ng)               F¡rsl Name                    Middle   Name                      Last Name


      United States Bankruptcy Court for the:                   EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)
                                                                                                                                                            I       Check if this is an
                                                                                                                                                                    amended filing


     Official Form 106E/F
     Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12t15
     Be as complete and accurate as possible. Use Part 1 for creditors w¡th PRIORITY claims and                      Paft2fot cred¡tors with   NONPRIORITY claims. List the other pafty to
     anyexecutorycontractsorunexpiredleasesthatcouldresultinaclaim. AlsolistexecutorycontractsonScheduleAJB:Property(Official                        Form106ÁJB) andon
     Schedule G: Executory Contracts and Unexp¡red Leases (Official Form 106G). Do not ¡nclude any creditors w¡th partially secured cla¡ms that are listed in
     Schedule D: Creditors Who Have Claims Secured by Property. lf more space is needed, copy the Part you need, fill ¡t out, number the entries in the boxes on the
     left. Attach the Continuation Page to this page. lf you have no information to report in a Part, do not file that PaÉ. On the top of any add¡tional pages, write your
     name and case number (if known).

     [l@                  !-l9t   4ll9f Yolr    PRIORITY Unsecgred Glaims
      1.    Do any creditors have priority unsecured claims against you?

            I      No.    co to Part    2

            E      yes

     EEEÐ Lls! {! o! Your N Q!{ P!!QRIT! U qsccu red C laims
     3. Do any creditors have nonprior¡ty unsecured claims against you?
            E      No You have nothing to report in thìs part Submit this form to the court with your other schedules

            I      Y"r.
            List all of your nonpriority unsecured claims in the alphabetical order of the cred¡tor who holds each claim. lf a creditor has more than one nonprioriÇ
            unsecured claim, l¡st the creditor separately for each claim For each cla¡m l¡sted, ¡dentity what type of claim it is. Do not list clalms already included in Part 1 lf more
           than one cred¡tor holds a particular cla¡m, l¡St the other cred¡tors ¡n Part 3.lf you have more than three nonpriority unsecured cla¡ms fìll out the Continuation Page of

                                                                                                                                                                       Total claim

      4.1            Butte County Credit Bureau                                  Last 4 digits of account   number 4861                                                                $20.00
                    Nonpriority Creditor's Name
                    310 Flume Sfreeú                                             When was the debt incurred?
                    Chico, CA 95928
                    Number Street City State Zlp Code                            As of the date you file, the claim is: Check all that apply
                    Who incurred the debt? Check one
                    I Debtor I onty                                              E   Contingent
                    E Debtor 2 only                                              E   Unliqu¡dated
                    ! oebtor 1 and Debtor 2 only                                 !   Disputed

                    E At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                    E Check if th¡s claim ¡s for a commun¡ty                     E   Student loans
                    debt                                                         E  obligations aris¡ng out of a separation agreement or divorce that you did not
                    ls the claim subject to offset?                              report as priority claims

                    I     r.¡o                                                   E   OeOts to pension or profit-shar¡ng plans, and other s¡milar debts

                    E     yes                                                    I   other speciry Collection




     Oflicial Form 106            E/F                              Schedule E/F: creditors Who Have Unsecured Claims                                                                 Page 1 of 3
     Software Copyright (c) 1 996-201 6 Best Case LLC -   \/W   bestcase   com                                           47O2O                                                Besl Case Bankruplcy
Filed 07/28/16                                                                         Case 16-24932                                                                               Doc 1
      Debtor'1 Marlene Marie Cotrone                                                                                 Case number      (ir lnow)



                CM RE F i n a n ci a I Services                                Last 4 digits of account   number 9067                                                        $32.00
                Nonpriority Cred¡tor's Name
                3075 E lmperial Hwy Ste 200                                    When was the debt incurred?
                Brea, CA 92821
                Number Street City State Zlp Code                              As ofthe date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                I     Debtor   I   onty                                        E Contingent
                E     Debtor 2 only                                            D Unliquidated
                El    Debtor 1 and Debtor 2 only                               E oisputed
                El At least one of lhe debtors and another                     Type of NONPRIORITY unsecured claim:

                ! Ctrect ¡f this claim ¡s for a community                      E    Student loans
                debt                                                           E  Obligations arising out of a separation agreement or divorce that you d¡d not
                ls the claim subject to offset?                                report as priority claims

                I     ¡¡o                                                      E    Debts to pension or prof¡lsharing plans, and other similar debts

                E     yes                                                      I    other specify Unsecured Debt


                Enloe Medical Center                                           Last 4 dig¡ts of account   number 4767                                                      $307.00
                Nonpriority Creditor's Name
                1531 Esplanade                                                 When was the debt      ¡ncurred? 8-16-2014
                Chico, cA 95926
                Number Street City State Zlp Code                              As of the date you f¡le, the claim is: Check all that apply
                Who incurred the debt? Check one
                I     Debtor   I   only                                        E    Contingent
                I     Debtor 2 only                                            E    Unliquidated
                E     Debtor   I   and Debtor 2 only                           E    oisputed
                E     At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                E   Cnec* if this cla¡m is for a community                     E    Student loans
                debt                                                           fl Obligations arising out of a separation agreement or d¡vorce that you did not
                ls the claim subject to offset?                                report as prior¡ty claims

                Iruo                                                           E    Oebts to pension or profit-sharing plans, and other similar debts

                E yes                                                          I    orn"r specify Medical Debt


     EEEÐ            List Others to Be Notified About a Debt That You Already Listed
     5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 'l or 2. For example, if a collection agency
        is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 'l or 2, then list the collection agency here. Similarly, if you
        have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. lf you do not have additional persons to be
        notified forany debts ¡n Parts 1 or2, do notfill outorsubmitthis page.

     EÐ              Add the Amounts for Each Type of Unsecured Claim
     6. Total theamountsof certaintypesof unsecuredclaims.Thisinformation¡sforstatist¡cal                          reportingpurposesonly.2SU.S.C.S'l59.Addtheamountsforeach
        type of unsecured claim.
                                                                                                                                             Total Claim
                               6a         Domestic support obligations                                                 6a        $                           0.00

                               6b         Taxes and certain other debts you owe the government                         6b        $                           0.00
                               6c         Claims for death or personal injury while you were intoxicated               6c        $                           0.00
                               6d         Other. Add all other pr¡ority unsecured claims Write that amount here        6d        $                           0.00

                               6e         Total Prior¡ty. Add l¡nes 6a through 6d                                      6e        $                           0.00

                                                                                                                                             Total Claim
                               6f         Student loans                                                                6f        s                           0.00
              Total
           claims
       from Part 2             69         Obligat¡ons arising out of a separation agreement or divorce that
                                                                                                                                                             0.00
                                          you did not report as priority claims                                        6g        $
                               6h         Debts to pension or prof¡t-sharing plans, and other similar debts            6h        $                           0.00
                               6i         Other. Add all other nonpriority unsecured claims Wr¡te that amount          6i
                                                                                                                                                           359.00
                                          here                                                                                   I
     Off¡c¡al Form 106      E/F                                    Schedule E/F: Cred¡tors Who Have Unsecured claims                                                       Page 2 of 3
     Software Copyrighl (c) 1996-2016 Best Case LLC -      ww   bestcase com                                                                                        Besl Case Bankruptcy
Filed 07/28/16                                                                   Case 16-24932                                                                Doc 1
       Debtor 1 Marlene            Marie Cotrone                                                          Case number    (rt t<now)




                              6j    Total Nonpriority. Add lines 6f through 6i                              6j       $                359.00




      Oflicial Form
                      .106
                             E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 3 of 3

      Soflware Copyr¡ghl (c) 1996-2016 Best Case LLC -   mw   bestcase com                                                                     Best Case Bankruptcy
Filed 07/28/16                                                                          Case 16-24932                                                                            Doc 1
      Fill in this information to ident¡fy your case:
      Debtor       1               Marlene Marie Cotrone
                                   First   Name                       ¡¡iddle Name                  Last Name

      Debtor 2
      (Spouse ¡f,      fil¡ng)     F¡rst Name                         Middle   Name                 Last Name


      United States Bankruptcy Court for the                   EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)                                                                                                                                  I   Check if this is an
                                                                                                                                                      amended filing



     Official Form 106G
     Schedule G: Executorv Gontracts and Unexp¡red Leases                                                                                                              'l2l'15
     Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
     information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
     additional pages, write your name and case number (if known).

     1.        Do you have any executory contracts or unexpired leases?
               I No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
               El Yes. Fill in all of the information below even if the contacts of leases are listed on Schedu/e NB:Properly (Official Form 106 A/B).

     2         List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
               example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
               and unexpired leases.


                Person or company with whom you have the contract or                        lqase      State what the contract oq l_epse is for
                                   Name, Number, Street. C¡ty. Slale and ZIP Code

         2.1
                   Name


                   Number        Street

                   C¡tY                                      State                   ZIP Code
         22
                   Name


                   Number        Street

                                                             State                   ZIP Code
         2.3
                   Name


                   Number        Streel

                                                             State                   ZIP Code
         2.4
                   Name


                   Number        Street


                   City                                      State                   ZIP Code


                   Name


                   Number        Street


                   City                                      State                   ZIP Code




     Official Form          106G                           Schedule G: Executory Contracts and Unexpired Leases                                                        Page 1 of   1



     Software Copyright (c) 1996-2016 Best Case LLC -     ww bestcase com                                                                                       Best Case Bankruptcy
Filed 07/28/16                                                                         Case 16-24932                                                                   Doc 1
     Fill in this information to identify your case:

      Debtor'1                   Marlene Marie Cotrone
                                 F¡rst Name                            l\¡iddle Name

      Debtor 2
     (Spouse if,   filing)       Firsl Name                                                    Last Name


      United States Bankruptcy Court for the:                 EASTERN DISTRICT OF CALIFORNIA

     Case number
     (¡f known)                                                                                                                          E   Check if this is an
                                                                                                                                             amended filing


     Official Form 106H
     Schedule H: Your Codebtors                                                                                                                               12t15

     Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married
     people are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page,
     fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
     your name and case number (if known). Answer every question.

           l.     Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.

           lruo
          E       Yes

           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territoriesinclude
           Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           I      No Go to line   3
           E Yes Did your         spouse, former spouse, or legal equivalent live with you at the time?


       3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
           out Column 2.


                     Nemê, Number, Street, City, State and ZIP Code



         3.1                                                                                                   E    schedule D, tine
                        Name                                                                                   fl   schedule E/F, tine
                                                                                                               E    schedute G, tine

                        Number          Street
                        Cy                                     State                            ZIP Code




                                                                                                               E    schedule D, line
                        Name
                                                                                                               E    schedule E/F, line
                                                                                                               E    schedule G, l¡ne

                        Number          Slreel
                        Cy                                     Stale                            ZIP Code




     Official Form 106H                                                                    Schedule H: Your Codebtors                                      Page 1 of      1

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Filed 07/28/16                                                            Case 16-24932                                                                        Doc 1



      Fill in this information to ide          I

      Debtor                        Marlene Marie Cotrone

      Debtor 2
      (Spouse, ¡f liling)


      United States Bankruptcy Court for      the:    EASTERN DISTRICT OF CALIFORNIA

      Case number                                                                                                 Check if this is:
      (lf known)
                                                                                                                  [1 An amended filing
                                                                                                                  E A supplement showing postpetition chapter
                                                                                                                     '13 income as of the following date:

      Official Form 1061                                                                                             MM / DD/ YYYY

      Schedule l: Your lncome                                                                                                                             12t't5
     Be as complete and accurate as possible. lf  two married people are filing together (Debtor I and Debtor 2), both are equally responsible for
     supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your
     spouse. lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
     attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     liF-lM                 Describe Emptoyment

             Fill in your employment
             information.
             lf you have more than one job,                                 E   Employed                                E   Employed
             attach a separate page with             Employment status
             information about additional
                                                                            I   Not employed                            E   Not employed
             employers.
                                                   Occupation
             lnclude part{ime, seasonal, or
             self-employed work.                     Employer's name

             Occupation may include student          Employer's address
             or homemaker, if it applies.


                                                     How long employed there?

     EEIIDI,                Give Details About Monthlv lncome

     Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. lnclude your non-filing
     spouse unless you are separated.

     lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. lf you need
     more space, attach a separate sheet to this form.




             List monthly gross wages, salary, and commissions (before all payroll
      2.     deductions). lf not paid monthly, calculate what the monthly wage would be.              2       $             0.00   $             N/A

      3.     Estimate and list monthly overtime pay.                                                  3      +$             0.00   +$            N/A

      4.     Calculate gross lncome. Add line 2 + line 3.                                             4       $        0.00             $     N/A




     Ofììcial Fornr l06l                                                         Schedule   l: Your lncome                                              page    I
Filed 07/28/16                                                            Case 16-24932                                                                                  Doc 1

      Debtor     1    Marlene Marie Cotrone                                                                        Case number l¡f knownl




                Copy line 4 here                                                                           4.


      5.        List all payroll deductions:
                5a    Tax, Medicare, and Social Security deductions                                        5a       $              0.00       $           N/A
                5b.   Mandatory contributions for retirement plans                                         5b       $              0.00       Þ           N/A
                5c    Voluntary contributions for retirement plans                                         5c.      $              0.00       $           N/A
                5d.   Required repayments of retirement fund loans                                         5d.      $              0.00       $           N/A
                5e    lnsurance                                                                            5e       $              0.00       $           N/A
                5f.   Domestic support obligations                                                         5f.      $              0.00       $           N/A
                59.   Union dues                                                                           5g       $              0.00       $           N/A
                5h.   Other deductions. Specify:                                                           5h. +    $              0.00     + $           N/A
      6.        Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+59+5h.                             6.       $              0.00       $           N/A
      7.        Calculate total monthly take-home pay. Subtract line 6 from line 4                         7.       Þ              0.00       $           N/A
      8.        List all other income regularly received:
                8a Net income from rental property and from operating a business,
                       profess¡on, or farm
                      Attach a siatement for each property and business showing gross
                      receipts, ord¡nary and necessary business expenses, and the total
                      monthly net income.                                                                  Ba       $              0.00       $           N/A
                8b.   lnterest and dividends                                                               8b.      $              0.00       $           N/A
                8c.   Family support payments that you, a non-filing spouse, or a dependent
                      regularly receive
                      lnclude alimony, spousal support, child support, maintenance, divorce
                      settlement, and property settlement                                                  8c.      $               0.00      $           N/A
                8d    Unemploymentcompensation                                                             8d.      $               0.00      $           N/A
                8e.   Social Security                                                                      8e.      $               0.00      $           N/A
                8f.   Other government assistance that you regularly receive
                      lnclude cash assistance and the value (if known) of any non-cash assistance
                      that you rece¡ve, such as food stamps (benefits under the Supplemental
                      Nutrition Assistance Program) or housing subsidies
                      Specify:                                                                             Bf.      $               0.00      $           N/A
                89.    Pension or retirement income                                                        8s.      $         1,645.00        $           N/A
                Bh     Other monthly income. Specify:                                                      Bh+ I                    0.00 +    $           N/A

      9.        Add all other income. Add lines 8a+8b+8c+Bd+Be+Bf+Bg+8h.                                   9. g               1,645.00        $              N/A


      10.       Calculatemonthlyincome.AddlineT+lineg                                                   10. $            1,645.00+$               N/A=S            1,645.00
                Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
      1"1   .   State all other regular contributions to the expenses that you list in Schedule J.
                lnclude contributions from an unmarried partner, members of your household, your dependents, your roommates, and
                other friends or relatives.
                Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J
                Specify:                                                                                                                          11.   +$             0.00

      12        Add the amount in the last column of line 10 to the amount in line       1 1 . The result is the combined monthly income
                Write that amount on the Summa ry   of Schedules and   Stalrstica I Summary of Ceftain Liabilities and Related Data, if it
                appl¡es                                                                                                                           12. $            1,645.00

                                                                                                                                                        Combined
                                                                                                                                                        monthly income
      13        Do you expect an increase or decrease      within the year after you file this form?
                INo
                tr      Yes Explain:




     Official [:urnr I0(rl                                                         Schctìulc   l: \'or¡r lnconlc                                                    pirgc 2
Filed 07/28/16                                                                   Case 16-24932                                                                          Doc 1



       Fill in this information to identify your case:

       Debtor                Marlene Marie Cotrone                                                                       Check if this is:
                                                                                                                         tr An amended fìling
       Debtor 2                                                                                                          tl A supplement showing postpetition chapter
       (Spouse, if filing)                                                                                                   13 expenses as of the following date:

      i United States Bankruptcy Court for the       EASTERN DISTRICT OF CALIFORNIA                                            MM/DD/YYYY

       Case number




       Official Form 106J
       Schedule J: Your Expenses                                                                                                                                     12t't5
       Be as complete and accurate as possible.   lf two married people are filing together, both are equally responsible for supplying correct
       information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
       number (if known). Answer every question.

       Part   1      Describe Your Household
              ls this a joint case?
              I   No Go to line   2
              E Yes Does Debtor 2 live in a separate household?
                   ENo
                   E Yes Debtor 2 must file Official Form 106J-2, Expenses                     for Separate Household of Debtor 2

       2      Do you have dependents?            I    No

              Do not list Debtor 1 and           E    yes.     Fill out this information for     Dependent's relationship to        Dependent's    Does dependent
              Debtor 2                                         each dependent                    Debtor I or Debtor 2              age             live with you?

              Do not state the                                                                                                                     Eruo
              dependents names                                                                                                                     E yes
                                                                                                                                                   !   ¡lo
                                                                                                                                                   E   Yes
                                                                                                                                                   Eruo
                                                                                                                                                   E   Yes
                                                                                                                                                   !ruo
                                                                                                                                                   E   Yes
       3      Do your expenses include                     I   ¡¡o
              expenses of people other than
              yourself and your dependents?                E   Yes


      W           Estimate Your ongolng Monthly Expenses
       Estimate your expenses as of your bankruptcy filing date unless you are us ing this form as a supplement in a Chapter l3 case to report
       expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the
       applicable date.

       lnclude expenses paid for with non-cash government assistance if you know
       the value of such assistance and have included it on Schedule I: Your lncome
       (Official Form 1061.)                                                                                                             Your


       4.     The rental or home ownership expenses for your residence. lnclude first mortgage
              payments and any rent for the ground or lo                                                                  4.$                                0.00

              lf not included in line 4:

              4a      Real estate taxes                                                                                  4a    e
                                                                                                                                                        220.00
              4b      Property, homeowner's, or renter's insurance                                                       4b    $                         70.00
              4c      Home maintenance, repair, and upkeep expenses                                                      4c    $                             50.00
              4d      Homeowner's association or condominium dues                                                        4d    $                             0.00
       5      Additional mortgage payments for your residence, such as home equity loans                                  5    $                             0.00




       Official Form 106J                                                        Schedule J: Your Expenses                                                           page     1
Filed 07/28/16                                                            Case 16-24932                                                                                    Doc 1


       Debtor    1   Marlene Marie Cotrone                                                                   Case number (if known)


       6     Utilities:
             6a      Electricity, heat, natural gas                                                                 6a.   $                                 100.00
             6b.     Water, sewer, garbage collection                                                               6b.   $                                  60.00
             6c.     Telephone, cell phone, lnternet, satellite, and cable services                                 6c.   $                                  50.00
             6d.     Other. Specify:                                                                                6d.   $                                   0.00
       7.    Food and housekeeping supplies                                                                          7.$                                    400.00
       8.    Childcare and children's education costs                                                                8.$                                      0.00
       v-  Clothing, laundry, and dry cleaning                                                                       e.$                                     20.00
       10. Personal care products and services                                                                      10.   $                                  20.00
       11  Medical and dental expenses                                                                              11.   $                                   0.00
       12. Transportation. lnclude gas, maintenance, bus or train fare
                                                                                                                    12.   $                                   0.00
             Do not include car payments.
       13. Entertainment, clubs, recreation, newspapers, magazines, and books                                       13    $                                   0.00
       14. Charitable contributions and religious donations                                                         14.   $                                   0.00
       15. lnsurance.
             Do not include insurance deducted from your pay or included in lines 4 or 20.
             15a.   Life insurance                                                                                15a.    $                                   0.00
             15b.   Health insurance                                                                              15b     $                                   0.00
             15c Vehicle insurance                                                                                15c     $                                   0.00
             15d. Other ¡nsurance. specify:                                                                       15d     $                                   0.00
       16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
             Specify:                                                                                               16.   $                                   0.00
       17. lnstallment or lease payments:
           17a Car payments for Vehicle          1                                                                 17a.   $                                   0.00
           17b. C{ payments for Vehicle 2                                                                          17b    $                                   0.00
           17c. Other. Specify:                                                                                    17c.   $                                   0.00
             17d.    Other. Specify:                                                                               17d.   $                                   0.00
       18    Your payments of alimony, maintenance, and support that you did not report as
             deducted from your pay on line 5, Schedu/e l, Your Income (Official Form 1061).                         I    $                                   0.00
       19    Other payments you make to support others who do not live with you.                                          $                                   0.00
             Specify:                                                                                               19.
       20    Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your lncome.
             20a.    Mortgages on other property                                                                  20a.    $                                   0.00
             20b.    Real estate taxes                                                                            20b.    $                                   0.00
             20c     Property, homeowner's, or renter's insurance                                                 20c.    $                                   0.00
             20d.    Maintenance, repair, and upkeep expenses                                                     20d.    $                                   0.00
             2Oe.    Homeowner's association or condominium dues                                                  2Oe     $                                   0.00
       21    Other: Specify:                                                                                        21.   +$                                  0.00

       22.   Calculate your monthly expenses
             22a Add l¡nes 4 through 21.                                                                                       $                       990.00
             22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
             22c. Add line 22a and 22b. The result is your monthly expenses                                                    $                       990.00

       23.   Calculate your monthly net income.
             23a Copy line 12 (your combined monthly income) lrom Schedule               l.                        23a    $                             1   645.00
             23b. Copy your monthly expenses from line 22c above                                                   23b    -$                                990.00

             23c       Subtract your monthly expenses from your monthly income.
                                                                                                                                                            655.00
                       The result is your monthly net income.                                                      23c.   $


       24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
             For éxample, do you expect to finish paying for your car loan wìthin the year or do you expect your mortgage payment to increase or decrease because of a
             modification to the lerms of your mortgage?
             I   No.
             E   Yes.            Explain here




       Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 07/28/16                                                                Case 16-24932                                                                                      Doc 1




      Fill in this information to identify your case:

      Debtor       1              Marlene Marie Cotrone
                                  F¡rst Name                    M¡ddle Name              Last Name

      Debtor 2
      (Spouse ¡f, f¡l¡ng)                                                                Last Name


      Un¡ted States Bankruptcy Court for           the:   EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)                                                                                                                             !     Check if this is an
                                                                                                                                                   amended filing




     Official Form 106Dec
     Declaration About an lndividual Debtor's Schedules                                                                                                                    12t't5


     tf   two married people are filing together, both are equally responsible for supplying correct information.

     You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
     obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonmentfor up to 20
     years, or both. 18 U.S.C.55'152, 134'1,1519, and 3571.



                            Slgn Below


              Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              TNO
              tr Yes. Name of person                                                                                 Atlach B a n kr u ptcy P e titi o n P re p a re r's N oti ce,
                                                                                                                     Declaration, and Signature (Official Form 119)



             Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
             that they are true and correct.

             X                                                                           X
                                                                                             Signature of Debtor 2
                       Signature of Debtor     1




                       Date July 27,2016                                                      Date




     Offìcial Form          106Dec                              Declaration About an lndividual Debtor's Schedules
     Soltware Copyright (c) '1996-2016 Best Case, LLC - \M bestæse com                                                                                          Best Case Bankruptcy
Filed 07/28/16                                                                  Case 16-24932                                                                  Doc 1



         Fill in this information to identify your case:

         Debtor    1                 Marlene Marie Cotrone
                                     F¡rst Name                 l\riddle Name                 Last Name

         Debtor 2
      (Spouse if, filing)            First Name                                               Lasl Name


         United States Bankruptcy Court for       the:    EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)
                                                                                                                                  !   Check if this is an
                                                                                                                                      amended filing



     Official Form 107
     Statement of Financial Affairs for lndividuals Filing for Bankruptcy                                                                                     4116

     Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
     information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
     number (if known). Answer every question.

                        Give Details About Your Marital Status and Where You Lived Before

     '|.     What is your current marital status?

             tr        Married
             I         Not married

     2.      During the last 3 years, have you lived anywhere other than where you live now?

             lNo
             tr Yes List all of the places you lived in the last 3 years. Do not include where            you live now

              Debtor        I   Prior Address:                                                   Debtor 2 Prior Address:


     3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community propeñy state or territory? (Community propefty
     sfales and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin )

             INo
             ¡ Yes Make sure you fill out Schedu/e           H: Your Codebtors (Official Form 106H).


     @                  Explain the Sources of Your lncome

     4       Did you have any income from employment or from operating a business during this year or the two previous calendar years?
             Fill in the total amount of income you received from all jobs and all businesses, including part{ime activities.
             lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1

             INo
             ¡ Yes Fill in the details

                                                                                         Gross income                                     Gross income
                                                                                         (before deductions and                           (before deductions
                                                                                         exclusions)                                      and exclusions)




     Otfic¡al Form 107                                     Statement of Financial Affairs for lndividuals Filing for Bankruptcy                             page   1


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Filed 07/28/16                                                                   Case 16-24932                                                                                  Doc 1
      Debtor    1    Marlene Marie Cotrone                                                                        Case number        Ufknown)




     5    D¡d you receive any other income during this year or the two previous calendar years?
          lnclude income regardless of whether that income is taxable. Examples ol other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money colìected from lawsuits; royalties; and gambling and lottery
          winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

           List each source and the gross income from each source separately Do not include income that you listed in line 4.

           trNo
           I      Yes. Fill in the details.


                                                                                           Gross income from
                                                                                           each source
                                                                                           (before deductions and
                                                                                           exclusions)
      From January 1 of current year until               Retirement lncome                             $11   ,515.00
      the date you filed for bankruptcy:

      For last calendar year:                            Retirement lncome                             $19,740.00
      (January I to December 31,2015             )


      For the calendar year before that:                 Retirement lncome                             $19,740.00
      (January 1 to December 31, 2014 |


     f,lflÐ          !-ist Certain Pa¡¿mg1ts You lMade Before You Filed for Bankruptcy

     6,    Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
           tr No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C S 101(B) as "incurred by an
                         individual primarily for a personal, family, or household purpose."

                         During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425" or more?
                           E ruo.        Go to line 7.
                           E Y".       List below each creditor to whom you paid a total of $6,425- or more in one or more payments and the total amount you
                                       paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony Also, do
                                       not include payments to an attorney for this bankruptcy case
                           " Subject to adjustment on 4lO1l19 and every 3 years after that for cases filed on or after the date of adjustment.

           I      Yes    Debtor    I   or Debtor 2 or both have primarily consumer debts.
                         During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                           I no          Go to line 7.
                           fl Yes        Listbeloweachcreditortowhomyoupaidatotal of $600ormoreandthetotal amountyoupaidthatcreditor Donot
                                         include payments for domestic support obligations, such as child support and alimony Also, do not include payments to an
                                         attorney for this bankruptcy case


            Creditor's Name and Address                                 Dates of payment            Total   amount        Amount       you      Was this payment for ...
                                                                                                              paid             still owe

     7     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
           lnsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
           of which you are an offlcer, director, person in control, or owner of 20o/o or more of their voting securities; and any managing agent, including one for
           abusinessyouoperateasasoleproprietor                    11   USC $'101 lncludepaymentsfordomesticsupportobligations,suchaschildsupportand
           alimony

           INo
           ! Yes List all payments            to an insider
               lnsider's Name and Address                               Dates of payment            Total amount          Amount you            Reason for this payment
                                                                                                            paid             still owe




     Official Form   107                                      Statement of F¡nancial Affairs for lndividuals F¡ling for Bankruptcy                                            page 2

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         Debtor    1   Marlene Marie Cotrone                                                                       Case number Vknown)



     I        Within 1 year before you filed for bankruptcy, d¡d you make any payments or transfer any property on account of a debt that benefited an
              insider?
              lnclude payments on debts guaranteed or cosigned by an insider.

              INo
              ¡ Yes List all payments        to an insider
               lnsider's Name and Address                              Dates of   payment           Total amount           Amount     you     Reason for this payment
                                                                                                            paid              still   owe     lnclude creditor's name

     f,fiÐ    ldentify Legal Actions, Repossessions, and Foreclosures

     9. Within '1 year before you filed for bankruptcy, were you a pa¡ty in any lawsuit, couÉ action, or administrative                          proceeding?
              List all such matters, including personal injury cases, small claims act¡ons, divorces, collection suits, paternity actions, support or custody
              modifications, and contract disputes

              lNo
              tr Yes. Fill in the details.
              Gase     title                                           Nature of the   case        Court or agency
              Case number

     '10. Within    1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
              Check all that apply and fìll in the details below

              I    No Go to line 11
              tr   Yes Fill in the information below
              Creditor Name and Address                                Describe the Property                                          Date

                                                                       Explain what happened

     11       Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts f rom your
              accounts or refuse to make a payment because you owed a debt"
              INo
              tr Yes. Fill in the details.
              Greditor Name and Address                                Describe the action the cred¡tor took                                                            Amount


     12. Within I     year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors,                         a
              court-appointed receiver, a custodian, or another official?
              INo
              D Yes
     f,lfiÐ            List Certain Gifts and Contributions

     1   3.   Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
              tNo
              tr Yes Fill in the details for each gift
              Gifts with a total value of more than $600                    Describe the gifts                                        Dates you gave                       Value
              per person                                                                                                              the gifts

              Person to Whom You Gave the Gift and
              Address:

     14. Within2yearsbeforeyoufiledforbankruptcy,didyougiveanygiftsorcontributionswithatotal                                          valueofmorethan$600toanycharity?
              INo
              ¡ Yes Fill in the details for each gift or contribution
               Gifts or contributions to charities that total         Describe         what you   contributed                         Dates   you                          Value
               more than $600                                                                                                         contributed
              Charity's Name
              Addfess (Number,    Street, city, State and zlP code)


     f,f,flÐ           List Certain Losses

     15       Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     Olf¡cial Form     107                                   Statement of Financial Affairs for lnd¡v¡duals Filing for   Bankruptcy                                         page 3

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      Debtor   1    Marlene Marie Cotrone                                                                            Case number       lffknown)




           or gambling?

           INo
           ¡ Yes         Fill in the details
            Describe the property you lost and                      Describe any insurance coverage for the loss                          Date of your
            how the loss occurred                                   lnclude the amount that insurance has paid List pending
                                                                                                                                          loss
                                                                    insurance claims on line 33 of Schedule NB: Propefty.

     f,lfiil       List Certain Paymenls or Transfers

     16    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
           consulted about seeking bankruptcy or preparing a bankruptcy petition?
           lnclude any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy

           ¡No
           I Yes Fill in the details.
            Person Who Was Paid
            Address
            Email or website address
            Person Who Made the Payment, if Not You
            Douglas B. Jacobs                                                                                                             July 27,2016              $2,230.00
            20 lndependence C¡rcle
            Chico, CA 95973


     17    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
           promised to help you deal with your creditors or to make payments to your creditors?
           Do not include any payment or transfer that you listed on line 16.

           INo
           tr Yes. Fill in the details.
            Person Who Was Paid                                               Description and value of any      property                  Date payment
            Address                                                           transferred                                                 or transfer was
                                                                                                                                          made

     1B    Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
           transferred in the ordinary course of your business or financial affairs?
           lnclude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
           include gifts and transfers that you have already listed on this statement.
           ¡No
           tr Yes. Fill in the details
            Person Who Received Transfer                                      Description and value of                   Describe any propeñy or
            Address                                                           property transferred                       payments received or debts
                                                                                                                         paid ¡n exchange
            Person's relationship to you

     19    Within 10 years before you filed for bankruptcy, did you transfer any propeñy to a self-settled trust or similar device of which you are                           a
           beneficiary? (These are often called asse¡-pro¿ection devices.)
           INo
           fl Yes Fill in the details.
            Name of trust                                                     Description and value of the property transferred                             Date Transfer was
                                                                                                                                                            made




     Official Form 107                                          Statement of Financial Affairs for lnd¡viduals Filing for Bankruptcy                                        Page 4
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      Debtor     1    Marlene Marie Cotrone                                                                                Case number \tknown)



     f,fiÐ    List of Certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage Units

     20 Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your                              benefit, closed,
              sold, moved, or transferred?
              lnclude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
              houses, pension funds, cooperatives, associations, and other financial institutions.
              INo
              tr Yes. Fill in the details.
              Name of Financial lnstítut¡on and                                                      Type of account or
              Addfess (Number, street, city, state and zlP                                           instrument
              code)



     21   .   Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
              cash, or other valuables?

              INo
              tr Yes. Fill in the details.
              Name of Financial lnstitution                                 Who else had access to it?                     Describe the contents
              AddreSS    (Number, Street, city, State and zlP code)         Address     (Number, street, c¡ty,
                                                                            State and zlP code)


     22.      Have you stored property in a storage unit or place other than your home                      within I year before you f iled for bankruptcy?

              INo
              tr Yes. Fill in the details.
              Name of Storage Facility                                      Who else has or had access                     Describe the contents
              Address    (Number, street, c¡ty, State and zlP code)         to it?
                                                                            Address     (Number, street, city,
                                                                            Slate and ZIP Code)


     f,fiÐ   ldentify Property You Hold or Control for Someone Else

     23 Do you hold or control any property that someone else owns?                           lnclude any property you borrowed from, are storing for, or hold in trust
              for someone.

              ¡No
              tr Yes. Fill in the details.
              Owne/s Name                                                   Where is the property?                         Describe the property
              Addfess                                                       (Number, Street, C¡ty, Slate and ZIP
                         {Number, Street, c¡ty, State and zlP Code)
                                                                            Code)


     f,lflIf          Give Details About Environmental lnformation

     For the purpose of Part 10, the following definitions apply

     I        Environmental /au¡ means any federal, state, or local statute or regulation concerning pollution, contam¡nat¡on, releases of hazardous or
              toxic substances, wastes, or material ¡nto the air, land, soil, surface water, groundwater, or other medium, including statutes or
              regulations controlling the cleanup of these substances, wastes, or material.
     I        Sife means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
              to own, operate, or utilize it, including disposal sites.
     I        Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
              hazardous material, pollutant, contaminant, or similar term.

     Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

     24.      Has any governmental unit notified you that you may be liable or potentially liable under or ¡n violation of an environmental law?

              INo
              E Yes. Fill in the details.
               Name of site                                                 Governmental unit                                  Environmental law, if you      Date of notice
              Addfess    (Number, Street, c¡ty, State and zlP code)         Addfess {Number, Street,     c¡ty, state and       know it
                                                                            zlP Code)




     Official Form    107                                     Statement of Financial Affairs for lndiv¡duals Filing for Bankruptcy                                           page 5

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      Debtor    1    Marlene Marie Cotrone                                                                              Case number Vknownl



     25.   Have you notified any governmental unit of any release of hazardous material?

           lNo
           tr Yes. Fill in the details.
            Name of site                                                     Governmental unit                             Environmental law, if you         Date of notice
            Addfess     (Number, Street, city, State and zlP code)           Addfess (Numþer, Street, city, State and      know it
                                                                            ZIP Code)


     26.   Have you been a party in any             judicial or administrative proceeding under any environmental law? lnclude settlements and orders

           INo
           tr Yes. F¡ll in the details.
            Case Title                                                       Gourt or agency                            Nature of the case
            Case Number                                                      Name
                                                                             Address     (Number, street, c¡ty,
                                                                             State and ZIP Code)


                     Give Details About Your Business or Connections to

     27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              E A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 E    A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 E    A partner in a partnership
                 E    An officer, director, or managing executive of a corporation

                 E    An owner of at least 5% of the voting or equity securities of a corporation

           I     No. None ofthe above applies. Go to Part 12.
           tr    Yes. Check all that apply above and fill in the details below for each business.
            Business     Name                                         Describe the nature of the business                   Employer ldentification number
            Address                                                                                                         Do not include Social Security number or lTlN.
            (Numb€r, Street, C¡ty, State and zlP   Code)              Name Of aCCOuntant Or bOOkkeeper
                                                                                                                            Dates business existed

     28. Within 2 years before you filed for bankruptcy,                  did you give a financial statement to anyone about your business? lnclude all financial
           institutions, creditors, or other parties.

           INo
           El Yes. Fill in the details below
            Name
            Address
            (Number, Street, City, State and ZIP Code)


     @               sign Below

     I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
     are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
     with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
     18 U.S.C. SS r52,1341,1s19, and 3571.
     u-.
      /
         ,, A-[7*
      "/ ,aur.{-<-*
      Màrlene Marie         Cotrons                                              Signature of Debtor         2
      Signature of Debtor        1



      Date July        27, 201   6                                                Date

     Did you attach additional pages               lo Your Statement      of Financial Affairs for lndividuals Filing for Bankruptcy (Off icial Form 107)?
     INo
     ! Yes
     Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
     INo
     E Yes Name        of Person               Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119)
     Offic¡al Form   '107                                    Statement of Financial Affairs for lndividuals Fil¡ng for Bankruptcy                                          Page 6

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Filed 07/28/16                                                                   Case 16-24932                                                             Doc 1
      Debtor'1 Marlene Marie Cotrone                                                                              Case number lúknownl




     Official Form   107                                      Statement of Financial Affairs for lnd¡viduals F¡l¡ng for Bankruptcy                      page 7

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Filed 07/28/16                                                                   Case 16-24932                                                                                  Doc 1


      Fill in this information to identifu your æse:                                                               Check as directed in lines 17 and 21
                                                                                                                      According to the calculations required by this
      Debtor       1           Marlene Marie Cotrone
                                                                                                                      Statement:
      Debtor 2
      (Spouse, ¡f filing)
                                                                                                                      I     1. Disposable income is not determined under
                                                                                                                               11 U.S.C S 1325(bX3).
      United States Bankruptcy Court for           the:    Eastern District of California                             tr    2. Disposable income is determined under           11

                                                                                                                               u.s   c   s 1325(bx3).
      Case number
      (il known)
                                                                                                                      I     3. The commitment period is 3 years

                                                                                                                      tr    4. The commitment period is 5 years

                                                                                                                       E   Check if this is an amended filing

     Official Form 122C-1
     Ghapter 13 Statement of Your Current Monthly Income
     and Calculation of Commitment Period                                                                                                                                     "t2t1s

     Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for being accurate. lf more
     space is needed, attach a separate sheet to this form. lnclude the line number to which the additional information applies. On the top of any
     additional pages, write your name and case number (if known).

      Part   I            Calculate Your Average Monthly lncome

             What is your marital and filing status? Check one only
              I        Not married Fill out Column A, lines 2-11.
              E        Married. Fill out both Columns A and B, lines 2-11


           Fill in the average monthly income that you received from all sources, derived during the 6 full months before you f¡le th¡s bankruptcy case.     11 U S   C   S
           101(104). For example, if you are filing on September 15, the 6-month period would be March 1 throughAugúst 31. lf the amount of your monthly income var¡ed duÍing
           the 6 months, add the income for all 6 months and divide the total by 6 Fill ¡n the result. Do not include any income amount more than once- For example, ¡f both
           spouses own the same rental property, put the income from that property in one column only- lf you have nothing to report for any line, write $0 in the space-

                                                                                                                                         Column B
                                                                                                                                         Debtor 2 or
                                                                                                                                         non-filing spouse
       2     Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
             payroll       deductions).                                                                       $              0.00        $

       J     Alimony and maintenance payments. Do not include payments from a spouse if
             Column B is filled       in.                                                                     $              0.00        $

       4     All amounts from any source which are regularly paid for household expenses
             of you or your dependents, including child support. lnclude regular contributions
             from an unmarried partner, members of your household, your dependents, parents,
             and roommates. lnclude regular contributions from a spouse only if Column B is not
             filled in. Do not include payments you listed on line 3.                                         $              0.00        $

       5     Net income from operating a business,
             profession, or farm                                              Debtor   1

             Gross receipts (before all deductions)                   $ 0'00
             ordinary and necessary operating expenses               -$ 0'00
             Net monthly income from a business, profession, or farm $  0'00 Copy here -> $                                  0.00        $

             Net income from rental and other real property Debtor 1
       ^
             Gross receipts (before all deductions)                   $ 0.00
             ordinary and necessary operating expenses               -$ 0.00
             Net monthly income from rental or other real property 5    0'00 Copy here -> $                                  0.00        $




     Oflicial Form          122C-1     Chapter 13 Statement of Your Current Monthly lncome and Calculation of Commitment Period                                        Page     1

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      Debror   1      Marlene Marie Cotrone                                                                      Case number (if /rnowr)




                                                                                                             Column A
                                                                                                             Debtor'l

       7       lnterest, dividends, and    royalties                                                         $                   0.00
       8       Unemployment            compensation                                                          $                   0.00      $

               Do not enter the amount if you contend that the amount received was a benefit under
               the Social Security Act. lnstead, list it here:
                    For   you                                             $                     0.00
                    For yourspouse                                        $

       9       Pension or retirement income. Do not include any amount received that was            a
               benefit under the Social Security Act.
       10. lncome from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act or payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism lf necessary, list other sources on a separate page and put the
           total below.
                                                                                                             $                   0.00      $

                                                                                                             $                   0.00      $

                           Total amounts from separate pages, if any.                                       +$                   0.00      $


       1   1   Calculate your total average monthly income. Add lines 2 through 10 for
               each column. Then add the total for Column A to the total for Column B.              $        1,645.00 + $                           =$       1,645.00

                                                                                                                                                         Total average
                                                                                                                                                         monthly income
                          Determine How to Measure Your Deductions from lncome

       12 Copy your total average monthly income from line 1l                                                                                       $        1,645.00
       13 Calculate the marital adjustment. Check one:
               I      You are not married. Fill in 0 below.
               tr     You are married and your spouse is filing with you. Fill in 0 below.
               tr     You are married and your spouse is not filing with you.
                      Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
                      dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
                      Below, specify the basis for excluding this income and the amount of income devoted to each purpose. lf necessary, list additional
                      adjustments on a separate page
                      lf this adjustment does not apply, enter 0 below.
                                                                                                        $
                                                                                                        $
                                                                                                   +$


                               Total                                                                ü                    0.00         copy here=>                     0.00



       14       Your current monthly income. Subtract line 13 from line 12                                                                          $        1,645.00


       15       Calculate your current monthly income for the year. Follow these steps:
                15a       Copy line 14 here=>                                                                                                       $        1,645.00

                          Multiply line 15a by 12 (the number of months in a year).                                                                      x12
                15b       The result is your current monthly income for the year for this part of the form                                          $      19,740.00




     Olficial Form        122C-1        Chapter 13 Statement of Your Current Monthly lncome and Calculation of Commitment Period                                     page 2
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Filed 07/28/16                                                                      Case 16-24932                                                                               Doc 1
     Debror   i      Marlene Marie Cotrone                                                                         Case number (llr known)




       16. Calculate the median family income that applies to you. Follow these steps:

              16a. Fill in the state in which you        live.                            CA

              16b. Fill in the number of people in your          household                 1

              16c. Fill in the median family income for your state and size of household                                                                   g    50,579.00
                   To find a list of applicable median income amounts, go online using the link specified in the separate
                   instructions for this form. This list may also be available at the bankruptcy clerk's offìce.
       17. How do the lines compare?

              '17   a. I      Line 1 5b is less than or equal to line 1 6c. On the top of page 1 of this form, check box 1 , Dlçosa ble income is not determined under
                              11 IJ.S.C. S 1325(b)(3). Go to Part 3. Do NOT ftll oul Calculation of Your Disposable Income (Offìcial Form 122C-2).

              17b. tr         Line 1 5b is more than line 1 6c. On the top of page 1 of this form, check box 2, Diçosa ble income is determined under 11 U. S. C. S
                              1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable lncome (Official Form 122C-21. On line 39 of that form, copy
                              your current monthly income from line 14 above.
      Part 3             Calculate Your Commitment Period Under'11 U.S.C. S 1325(bX4)

      18.     Copy your total average monthly income from line 11                   .                                                              $                 1,645.00
      19.     Deduct the marital adjustment if it applies. lf you are married, your spouse is not filing with you, and you
              contend that calculating the commitment period under 11 U S.C S 1325(b)(4) allows you to deduct part of your
              spouse's income, copy the amount from line 13.
              19a. lf the marital adjustment does not apply, fill in 0 on line 19a.                                                               -$                      0.00



              19b. Subtract line 19a from line 18.                                                                                                     $          1,645.00


      20.     Calculate your current monthly income for the year. Follow these steps:
              20a. Copy line 'l9b                                                                                                                          g      1,645.00

                     Multiply by 12 (the number of months in a year).                                                                                          x12

              20b The result is your current monthly income for the year for this part of the form                                                         g    19,740.00




              20c. Copy the median family income for your state and size of household from line 16c                                                        $    50,579.00


              21     How do the lines compare?

                     I     Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                           per¡od ¡s 3 years. Go to Part 4

                     tr    Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                           commitment period is 5 years Go to Part 4


     !!fi By signing
                 ðrurr ÞËruw
                     here, under penalty of perjury              I   declare that the information on th¡s statement and in any attachments is true and correct.




                  Signature of Debtor   1


              Date July 27, 2016
                         MM/DD /YYYY
              lf you checked 17a, do NOT f¡ll out or file Form 122C-2

              lfyouchecked'l7b,fill outForml22C-2andfileitwiththisform Online39ofthatform,copyyourcurrentmonthlyincomefromlinel4above




     O'f'ficial Form      122C-1      Chapter 13 Statement of Your Current Monthly lncome and Calculation of Commitment Period                                           page    3
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Filed 07/28/16                                                             Case 16-24932                                                               Doc 1

     Notice Required by 11 U.S.C. S 342(b) for
     lndividuals Filing for Bankruptcy (Form 2010)


                                                                                               Ghapter   7:       Liquidation
      This notice is for you if
                                                                                                       $245      filing fee
             You are an individual filing for bankruptcy,
             and                                                                                          $75    administrative fee

             Your debts are primarily consumer debts.                                          +          $15    trustee surcharge
             Consumer debts are defined in 1'1 U.S.C.
             S 101(8) as "incurred by an individual                                                      $335 totalfee
             primarily for a personal, family, or
             household purpose."                                                               Chapter 7 is for individuals who have financial
                                                                                               difficulty preventing them from paying their debts
                                                                                               and who are willing to allow their nonexempt
      The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
      individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                               your debts discharged. The bankruptcy discharge
      lndividuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
      one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                               for particular debts, and liens on property may still
              Chapter 7 - Liquidation                                                          be enforced after discharge. For example, a creditor
                                                                                               may have the right to foreclose a home mortgage or
              Chapter 11 - Reorganization                                                      repossess an automobile.

              Chapter 12 - Voluntary repayment plan                                            However, if the court finds that you have committed
                          for family farmers or                                                certain kinds of improper conduct described in the
                                fishermen                                                      Bankruptcy Code, the court may deny your
                                                                                               discharge.
              Chapter 13 - Voluntary repayment plan
                          for individuals with regular                                         You should know that even if you file chapter 7 and
                                 rncome                                                        you receive a discharge, some debts are not
                                                                                               discharged under the law. Therefore, you may still
                                                                                               be responsible to pay:
      You should have an attorney review your
      decision to file for bankruptcy and the choice of                                            most taxes;
      chapter.
                                                                                                   most student loans;

                                                                                                   domestic support and property settlement
                                                                                                   obligations;




     Not¡ce Required by 11 U.S.C. S 342(b) for lndividuals F¡ling for Bankruptcy (Form 2010)                                                        page'l

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              most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
              restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                                results ot the Means lesf, the U.S. trustee, bankruptcy
              certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
              papers.                                                                           your case under $ 707(b) of the Bankruptcy Code. lf a
                                                                                                motion is filed, the court will decide if your case should
      You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                                proceed under another chapter of the Bankruptcy
             fraud or theft;                                                                    Code.

             fraud or defalcation while acting in breach of                                     lf you are an individual filing for chapter 7 bankruptcy,
             fiduciary capacity;                                                                the trustee may sellyour property to pay your debts,
                                                                                                subject to your right to exempt the property or a portion
              intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                                property, and the proceeds from property that your
              death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
              motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
              from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                                household items or to receive some of the proceeds if
      lf your debts are primarily consumer debts, the court                                     the property is sold.
      can dismiss your chapter 7 case if it finds that you have
      enough income to repay creditors a ceftain amount.                                        Exemptions are not automatic. To exempt property,
      You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
      Monthly lncome (Official Form 122A-1) if you are an                                       as Exempt (Official Form 106C). lf you do not list the
      individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
      form will determine your current monthly income and                                       proceeds to your creditors.
      compare whether your income is more than the median
      income that applies in your state.

      lf your income is not above the median for your state,
      you will not have to complete the other chapter 7 form,                                   Ghapter I I: Reorganization
      Ihe Chapter 7 Means Test Calculafion (Official Form
      1224-2).
                                                                                                             $1,167    filing fee
      lf your income is above the median for your state, you
      must file a second form
                               -the Chapter 7 Means Test                                                               administrative fee
                                                                                                   +           $550
      Calculation (Official Form 122A-2). The calculations on
      the form- sometimes called the Means lesf-deduct
                                                                                                             $1,717    total fee
      from your income living expenses and payments on
                                                                                                Chapter 11 is often used for reorganizing a business,
      certain debts to determine any amount available to pay
                                                                                                but is also available to individuals. The provisions of
      unsecured creditors. lf
                                                                                                chapter 11 are too complicated to summarize briefly.




     Notice Required by 1'l U.S.C. $ 342(b) for lndividuals Fil¡ng for Bankruptcy (Form 2010)                                                              Page 2

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               Read These                              nt

                   Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                   your property, you should hire an attorney and carefully consider all of your options before you file.
                   Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                   and what your options are. lf you do file for bankruptcy, an attorney can help you fill out the forms
                   properly and protect you, your family, your home, and your possessions.

                   Although the law allows you to represent yourself in bankruptcy court, you should understand that
                   many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
                   or inaction may harm you. lf you file without an attorney, you are still responsible for knowing and
                   following all of the legal requirements.

                   You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                   necessary documents.

                   Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                   bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                   fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
                   20 years, or both. l8 U.S.C. SS 152, 1341,'1519, and 3571.



                                                                                                             Under chapter 13, you must file with the court a plan
      Ghapter 12: Repayment plan for family                                                                  to repay your creditors all or part of the money that
                  farmers or fishermen                                                                       you owe them, usually using your future earnings. lf
                                                                                                             the court approves your plan, the court will allow you
                                                                                                             to repay your debts, as adjusted by the plan, within 3
                          $200             filing fee                                                        years or 5 years, depending on your income and other
      +                    $75              administrative fee                                               factors.
                          $275 totalfee
                                                                                                             After you make all the payments under your plan,
      Similar to chapter 13, chapter 12 permits family farmers                                               many of your debts are discharged. The debts that are
      and fishermen to repay their debts over a period of time                                               not discharged and that you may still be responsible to
      using future earnings and to discharge some debts that                                                 pay include:
      are not paid.
                                                                                                                        domestic support obligations,

                                                                                                                        most student loans,
      Ghapter 13: Repayment plan for
                  individuals with regular                                                                              certain taxes,
                  income
                                                                                                                        debts for fraud or theft,

                          $235             filing fee                                                                   debts for fraud or defalcation while acting in a
      +                    $75             administrative fee                                                           fiduciary capacity,
                          $310 totalfee
                                                                                                                        most criminal fines and restitution obligations,
      Chapter 13 is for individuals who have regular income
      and would like to pay all or part of their debts in                                                               certain debts that are not listed in your
      installments over a period of time and to discharge                                                               bankruptcy papers,
      some debts that are not paid. You are eligible for
      chapter 13 only if your debts are not more than certain                                                           certain debts for acts that caused death or
      dollar amounts set fodh in 11 U.S.C. S f 09.                                                                      personal injury, and

                                                                                                                        certain long{erm secured debts.




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                                                                                                      A married couple may file a bankruptcy case
                     Warning: File Your Forms on Time                                                 together-called a joint case. lf you file a joint case and
                                                                                                      each spouse lists the same mailing address on the
      Section 521(a)(1) of the Bankruptcy Code requires that                                          bankruptcy petition, the bankruptcy court generally will
      you promptly file detailed information about your                                               mail you and your spouse one copy of each notice,
      creditors, assets, liabilities, income, expenses and                                            unless you file a statement with the court asking that
      general fìnancial condition. The court may dismiss your                                         each spouse receive separate copies.

                                                                                                      Understand which services you could receive from
                                                                                                      credit counseling agencies

                                                                                                      The law generally requires that you receive a credit
                                                                                                      counseling briefing from an approved credit counseling
                                                                                                      agency. l1 U.S.C. S 109(h). lf you are filing a joint
                                                                                                      case, both spouses must receive the briefing. With
                                                                                                      limited exceptions, you must receive it within the '180
                                                                                                      days before you file your bankruptcy petition This
      Bankruptcy crimes have serious consequences                                                     briefing is usually conducted by telephone or on the
                                                                                                      lnternet.
              lf you knowingly and fraudulently conceal assets
              or make a false oath or statement under penalty                                         ln addition, after filing a bankruptcy case, you generally
              of perjury-either orally or in writing-in                                               must complete a financial management instructional
              connection with a bankruptcy case, you may be                                           course before you can receive a discharge. lf you are
              fined, imprisoned, or both.                                                             filing a joint case, both spouses must complete the
                                                                                                      course.
              All information you supply in connection with a
              bankruptcy case is subject to examination by the                                        You can obtain the list of agencies approved to provide
              Attorney General acting through the Office of the                                       both the briefing and the instructional course from:
              U.S. Trustee, the Office of the U.S. Attorney, and                                      http://iustice.qov/usUeo/hapcpa/ccde/cc approved.html
              other offices and employees of the U S.
              Department of Justice
                                                                                                      ln Alabama and North Carolina, go to:
      Make sure the court has your mailing address                                                    http ://www. uscou rts. qov/Federa lCou rts/Ba n kru ptcv/
                                                                                                      Ban kru ptcy Resou rces/Approved C red it
      The bankruptcy court sends notices to the mailing                                               And DebtCounselors. aspx.
      address you list on Voluntary Petition for lndividuals
      Filing for Bankruptcy (Official Form '101). To ensure                                           lf you do not have access to a computer, the clerk of
      that you receive information about your case,                                                   the bankruptcy court may be able to help you obtain
      Bankruptcy Rule 4002 requires that you notify the court                                         the list.
      of any changes in your address.




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     82030 (Form 2O3O) (12115)
                                                                    United States Bankruptcy Court
                                                                         Eastern District of California
         ln   re     Marlene Marie Cotrone                                                                               Case No.
                                                                                          Debtor(s)                      Chapter


                                   DrsclosuRE oF                    COMPENSATTON OF ATTORNEY FOR DEBTOR(S)
               Pursuant to I I U .S.C. $ 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above narred debtor(s) and that
               compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
               be rendered on behalfofthe debtor(s) in contemplation ofor in connection with the bankruptcy case is as follows:

                         For legal services, I have agreed to accept                                                 $                  4,000.00
                         Prior to the filing of this statement I have received                                       s                  2,230.00
                         Balance Due                                                                                 s                  I   770.00

     2         The source of the compensation paid to me was:

                         I Debtor           tr   Other (specify):

     3         The source of compensation to be paid to me is:

                         I Debtor           tr   Other (specify):

     4         I     I   haue not agreed to share the above-disclosed compensation      with any other person unless thc1, are members and associates of my law firm.

               D     I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                     copy of the agreement, together \.vith a list of the names of the people sharing in the compensation is attached.

     5.        ln return for the above-disclosed fee, I have agreed to render legal service for all aspects ofthe bankluptcy case, including:

               a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition       in bankruptcy;
               b. Preparation and filing ofany petition, schedules, statement ofaffairs and plan which rnay be required:
               c. Representation ofthe debtor at the meeting ofcreditors          and confirmation hearing, and any ad.journed hearings thereof;
               d. [Other provisions as needed]

     6.        By agreement with the debtor(s), the above-disclosed fee does not include the follorving service


                                                                                  CERTIFICATION
               I certify that the foregoing is a complete stat€ment ofany agreement or arrangement for payrnent to me for representation ofthe debtor(s) in
      this bankruptcy proceeding.

              July 27,2016
              Date                                                                                               0841 53

                                                                                         Jacobs, nderson, Potter & Chaplin, LLP
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                                                                                         Chico, CA 95973
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